   Case 1:16-cv-00013-JMC-RMM Document 159-2 Filed 10/23/18 Page 1 of 1
                          REDACTED BY PLAINTIFFS

                                       Appendix A
                  Index of Exhibits to Declaration of Michael D. Hynes

Exhibit                                       Document
   1.     Documentary Transcript
   2.     College of Pharmacists of British Columbia Complaints Outcomes
   3.     College of Naturopathic Physicians of British Columbia Public Notification
   4.
   5.     Photo of Jason Riley and Ryan Howard
   6.     Excerpts of April 30, 2018 Deposition Transcript of Ashley Adams
   7.     October 10, 2013 @RuckerOzone Twitter Post
   8.
   9.
   10.
   11.    Plaintiffs’ Objections and Responses to Defendants’ First Set of Interrogatories
          dated November 14, 2017
   12.                   Quick Confirm License
   13.
   14.
   15.    Emails exchanged between Dr. Rucker, Charlie Sly, and Jason Riley
   16.    Transcript of undercover recording
   17.    Excerpts of January 30, 2018 Deposition transcript of Jason Riley
   18.    Elementz Nutrition Business Plan
   19.    May 23, 2018 Subpoena to
   20.
   21.    July 9, 2018 email exchange between Scott Lerner and Ellen Dew
   22.
   23.    July 17, 2018 letter from Edwin A. Bayó to Ellen E. Dew
   24.

   25.    July 20, 2018 letter from Ellen E. Dew to Edwin A. Bayó
   26.    July 25, 2018 letter from Edwin A. Bayó to Ellen E. Dew
   27.    July 25, 2018 letter from Michael D. Hynes to Edwin A. Bayó
   28.    September 14, 2018 letter from Michael D. Hynes to Bryan C. Hannan
   29.
   30.    August 20, 2018 Subpoena to
   31.    September 20, 2018 E-mail from Raymond Solano to Ellen E. Dew
   32.    September 20, 2018 letter from Michael D. Hynes to Raymond Solano
   33.
   34.    September 20, 2018 letter from Paul F. Carvelli to Ellen E. Dew
   35.    September 25, 2018 letter from Ellen E. Dew to Paul F. Carvelli
   36.    Custodian of Records Affidavit signed by Raymond Solano
   37.    September 28, 2018 email from Raymond Solano to Michael Hynes
   38.    September 29, 2018 e-mail from Scott Lerner to Ellen E. Dew and Michael D.
          Hynes
   39.    October 1, 2018 letter from Michael D. Hynes to Raymond Solano
   40.    September 25, 2018 e-mail from Scott Lerner to the Court
